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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     UNITED STATES OF AMERICA,                          Case No. 19-cr-00046-BLF-1
                                   8                     Plaintiff,
                                                                                            ORDER DIRECTING FEDERAL
                                   9              v.                                        PUBLIC DEFENDER TO RESPOND
                                  10     YVONNE LATTIMORE,
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13            On July 21, 2021, Defendant Yvonne Lattimore moved ex parte for the Court to order the

                                  14   Federal Public Defender to release its complete file resulting out of its representation of

                                  15   Defendant. ECF 104; see also ECF 105. The Court DIRECTS the Federal Public Defender to

                                  16   respond to this request no later than July 29, 2021. The response SHALL be no longer than three

                                  17   pages.

                                  18            IT IS SO ORDERED.
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                                  20   Dated: July 22, 2021

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                                                                                        BETH LABSON FREEMAN
                                  22                                                    United States District Judge
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